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April 1, 2022



VIA ECF

Honorable Alison J. Nathan
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:       Yu, Laurene v. City of New York, et al.
          17-cv-07327

Dear Judge Nathan:

       Please withdraw and terminate my appearance on behalf of defendant, The City of New York in
the above referenced action. I am no longer employed by the City of New York and will no longer be
representing defendant.                        SO ORDERED

          Thank you for your attention to this matter.

Sincerely,


/s/ Kimberly Wilkens
                                                                                           4/4/22
Kimberly Wilkens

KW/mjr                                                          Sitting by designation

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